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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF NEVADA

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IN RE: Case No.: BK- 23-50986-hlb
(Chapter 11)

D&H BROADCASTING LLC,
APPLICATION FOR ORDER
AUTHORIZING DEBTOR TO
Debtor. EMPLOY MARK B. DENBO AS
SPECIAL COUNSEL

Hearing Date: July 9, 2024
Hearing Time: 10:30 a.m.
Est. Time: 5 minutes

Set By: Calendar Clerk

D&H BROADCASTING LLC, a Nevada limited liability company, the Debtor and
Debtor-In-Possession in the above-captioned Chapter 11 case (“Debtor”), by and through its
attorneys, STEPHEN R. HARRIS, ESQ., and NORMA GUARIGLIA, ESQ., of HARRIS LAW
PRACTICE LLC, hereby files its APPLICATION FOR ORDER AUTHORIZING DEBTOR
TO EMPLOY MARK B. DENBO AS SPECIAL COUNSEL (“Application”), seeking an order
authorizing the employment of Mark B. Denbo as Special Counsel to handle FCC licensing
matters for the Debtor.

This Application is made pursuant to Sections 327(a), 330 and 331 of the Bankruptcy
Code, Federal Rule of Bankruptcy Procedure 2014, and the United States Trustee Chapter 11
Guidelines. This Application is based upon the following points and authorities, the Declaration

of Mark B. Denbo in Support of Application for Order Authorizing Debtor to Employ Mark B.

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Denbo As Special Counsel filed contemporaneously, and any argument of counsel at the hearing

to consider the Application.
JURISDICTION

1. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334.
This is a core proceeding pursuant to 28 U.S.C § 157(b). Venue is proper before this Court
pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the relief sought herein is 11

U.S.C. §§ 327(a), 330 and 331.
BACKGROUND

2. On December 29, 2023, Debtor filed a Chapter 11 Voluntary Petition for Non-
Individuals Filing for Bankruptcy, initiating Case No. 23-50986-hlb.

3. No trustee has been appointed in this case and Debtor acts as Debtor-in-
Possession.
4, Debtor is a radio station broadcasting company located in Stateline, Nevada, and

holds two (2) FCC radio licenses for radio stations KRLT (FM) and KOWL (AM), serving the
Lake Tahoe area. Debtor needs the assistance of an FCC attorney skilled in the transfer of radio
station licenses governed by the FCC statutes and rules, and Mark B. Denbo with the law firm
SMITHWICK & BELENDIUK, P.C. is skilled in these legal matters. Additionally, Mark B.
Denbo has represented the Debtor pre-petition since March 2015, and is familiar with the Debtor’s
FCC licensing history. See retention letter attached hereto as Exhibit “A”.
CONCLUSION

In conclusion, Debtor requests the entry of an order authorizing it to employ and retain
the Mark B. Denbo, pursuant to the terms and conditions recited above, to represent it in this
Chapter 11 case as its special counsel in FCC licensing matters, pursuant to 11 U.S.C. § 327(a),

and for such other and further relief as the Court deems just under the circumstances.

Dated May 16th, 2024.
HARRIS LAW PRACTICE LLC

/s/ Stephen R. Harris

STEPHEN R. HARRIS, ESQ.
Attorneys for Debtor

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EXHIBIT A

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May 9, 2024

Stephen R. Harris, Esq.

Harris Law Practice LLC

850 E. Patriot Boulevard, Suite F
Reno, NV 89511

Re: __ Legal Representation - D&H Broadcasting LLC
Dear Mr. Harris:

I have provided legal representation to D&H Broadcasting LLC (“Company”) since
March of 2015. By extension, I provided legal services to the Company prior to December
29, 2023, which is the date that the Company filed the Voluntary Petition for Bankruptcy
(Chapter 11) with United States Bankruptcy Court for the District of Nevada, Case No. 23-
50986.

As of December 29, 2023, no legal fees or other amounts were owed to me. As of
the date of this letter, no legal fees or other amounts are owed to me.

My expertise is in compliance with the Communications Act of 1934, as amended,
and the rules and policies of the Federal Communications Commission promulgated
thereunder (collectively, “Communications Laws”). Per request, I will continue providing
Communications Laws-related legal services to the Company, as well as to any related
companies, including “debtor-in-possession” companies. My rate is $400 per hour.

Please contact me with any questions regarding this matter.

Sincerely,

‘s/

Mark B. Denbo
